     Case 16-00141    Doc 73   Filed 12/05/17 Entered 12/05/17 17:49:49          Desc Main
                                Document     Page 1 of 15


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                             )      Chapter 7
                                                   )
NICHOLAS S. GOULETAS,                              )      No. 16-01335
                                                   )
      Debtor.                                      )      Hon. Timothy A. Barnes
_______________________________________            )
                                                   )
800 SOUTH WELLS COMMERCIAL LLC,                    )
                                                   )
         Plaintiff,                                )
                                                   )
v.                                                 )      Adv. No. 1:16 ap 141
                                                   )
NICHOLAS S. GOULETAS,                              )
                                                   )
         Debtor/Defendant.                         )

             PLAINTIFF'S REPLY TO DEBTOR'S MEMORANDUM OF LAW
                 AND ARGUMENT IN OPPOSITION TO PLAINTIFF'S
                       MOTION FOR SUMMARY JUDGMENT

         This is the Reply by Plaintiff 800 South Wells Commercial LLC ("Plaintiff" or "800

SWC") to the Memorandum of Law and Argument in Opposition to Plaintiff's Motion for

Summary Judgment (D.N. 70) ("Mem.") submitted by Debtor/Defendant Nicholas S. Gouletas

("Debtor" or "Gouletas"). As shown by the following, (1) the facts set forth in Plaintiff's

Statement of Undisputed Facts that were not properly controverted by Gouletas should be

deemed admitted; (2) Gouletas has failed in his summary judgment burden to prove the

affirmative defense of lack of standing; and (3) the overwhelming summary judgment evidence

shows that Gouletas concealed his property with the intent to hinder, delay or defraud 800 SWC,

a judgment creditor of Gouletas. Accordingly, summary judgment against Gouletas as to Count

Three of Plaintiff's Adversary Complaint for Denial of Discharge pursuant to 11 U.S.C.

§727(a)(2)(A) should be granted.
    Case 16-00141     Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49              Desc Main
                                  Document     Page 2 of 15


        I.     The Facts Set Forth In Plaintiff's Statement Of Undisputed Facts Not
               Properly Controverted By Gouletas Should Be Deemed Admitted

        Virtually all of the Responses by Gouletas in Debtor's Response to Plaintiff's Statement

of Undisputed Facts in Support of Plaintiff's Motion for Summary Judgment (D.N. 69) ("Resp.")

are evasive and not in compliance with the requirements set forth in Rule 7056-2.1 Pursuant to

Rule 7056-2(B), the facts set forth in Plaintiff's Statement of Undisputed Facts in Support of

Plaintiff's Motion for Summary Judgment (D.N. 52-1) ("S/F") not properly controverted by

Gouletas should be deemed admitted.

        Under Rule 7056-2(A)(2), Gouletas, as the party opposing a motion for summary

judgment, was required to submit "a concise response to the movant's statement of facts"

comprised of

        (a)    a response to each numbered paragraph in the moving party's
               statement, including, in the case of any disagreement, specific
               references to the affidavits, parts of the record, and other
               supporting materials relied upon; and

        (b)    a statement, consisting of short numbered paragraphs, of any
               additional facts that require the denial of summary judgment,
               including references to the affidavit, parts of the record, and other
               supporting materials relied upon . . ..

Further, under Rule 7056-2(B), "[a]ll material facts set forth in the statement required by the

moving party will be deemed to be admitted unless controverted by the statement of the

opposing party." (Id. (emphasis added))

        The Local Court Rules on summary judgment practice within the Federal Courts of the

Northern District of Illinois, like Rule 7056-2 for the Bankruptcy Courts, require the nonmoving

party (here, Gouletas) "to admit or deny each factual statement proffered by [the movant]."

Cracco v. Vitran Express, Inc., 559 F.3d 625, 632 (7th Cir. 2009). Indeed,
1
  References to "Rule __" are to the Local Bankruptcy Rules of the United States Bankruptcy Court for
the Northern District of Illinois. See Rule 1000-1(14).

                                                 2
  Case 16-00141        Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49             Desc Main
                                   Document     Page 3 of 15


               if a material fact is not disputed (or if there is no evidence that
               controverts the fact), the [trial] court is entitled to know that
               upfront, without first having to examine citations to evidence
               having only marginal bearing on the question.

Bordelon v. Chicago Sch. Reform Bd. of Trustees, 233 F.3d 524, 528 (7th Cir. 2000). Moreover,

a summary judgment practice rule such as Rule 7056-2

               is not satisfied by evasive denials that do not fairly meet the
               substance of the material facts asserted. It is also not satisfied by
               citations to the record that support legal argument rather than
               controvert material facts.

Bordelon, 233 F.3d at 528. Accordingly, "[a]ny facts included in a party's statement of facts that

are not properly controverted by the opposing party are deemed admitted." Caterpillar Inc. v.

Estate of Lacefield-Cole, 520 F.Supp.2d 989, 995 (N.D. Ill. 2007). See, also, Tobey v. Extel/JWP,

Inc., 985 F.2d 330, 333 (7th Cir. 1993) ("the failure to contest a party's statement of uncontested

facts is treated as a binding admission of the truth of those facts").

       While a party responding to a motion for summary judgment may raise objections to the

summary judgment evidence, the nonmovant still must admit or deny each proffered undisputed

fact. See Cracco, 559 F.3d at 630 & 632. See, also, Ammons v. Aramark Unif. Servs., 368 F.3d

809, 818 (7th Cir. 2004) (a nonmoving party's response that the factual allegations in a moving

party's statement of material facts were irrelevant does not excuse the nonmoving party from

indicating whether it admitted or denied the allegations). Moreover, this Court is not "required to

wade through improper denials and legal argument in search of a genuinely disputed fact."

Bordelon, 233 F.3d at 529. See, also, Smith v. Lamz, 321 F.3d 680, 683 (7th Cir. 2003).

       Here, Gouletas failed to provide clear and equivocal denials of the factual propositions

set forth in Plaintiff's Statement of Undisputed Facts. Rather, Gouletas routinely asserted vague

and unsupported objections, along with qualifications of questionable relevance, but all the while



                                                  3
  Case 16-00141       Doc 73      Filed 12/05/17 Entered 12/05/17 17:49:49            Desc Main
                                   Document     Page 4 of 15


failed to deny the substance of the proffered fact. Overall, Gouletas' statements in response to

Plaintiff's Statement of Undisputed Facts are "so full of argument, evasion and improper denials

that [they] defeat[] the whole point of [Rule 7056-2] -- to identify just what facts are actually in

dispute." Bordelon, 233 F.3d at 528.

       In numerous Responses, Gouletas does not deny the statement of fact, but simply states

that "to the extent Plaintiff's characterization herein differs in any way from [the cited supporting

summary judgment evidence], Debtor denies all such differences." But what claimed

differences? Gouletas would impose upon this Court the task of sifting through all of the cited

summary judgment evidence to see how, if at all, the asserted statement of fact differs from the

supporting evidence. See Bordelon, 333 F.3d at 529. And if there are any differences, Gouletas

does not assist the Court in a determination as to whether any such differences make any

difference to the task at hand -- is the proffered fact undisputed?

       Moreover, in no instances are any of the differences between the proffered fact and the

supporting summary judgment evidence material on the issue of the correctness of the asserted

fact. For example, in Response to S/F No. 18, Gouletas stated: "Debtor's Answer (Px. A p. 8)

speaks for itself; and to the extent Plaintiff's characterization herein differs in any way from

Debtor's Answer, Debtor denies all such differences." (Resp. p. 6 No. 18) And the differences

that Gouletas denies? In two instances, the word "Plaintiff" in the Answer (Px A) is substituted

for the word "800 SWC" in the asserted fact, which, of course (and as admitted by Gouletas),

mean the same thing. (See Resp. p. 1 No. 1)

       The Responses by Gouletas to Plaintiff's Statement of Undisputed Facts Nos. 6-7, 9-26,

28-34, 36-68 & 70-77 are evasive and not in compliance with the requirements set forth in Rule




                                                  4
  Case 16-00141      Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49              Desc Main
                                 Document     Page 5 of 15


7056-2. Accordingly, pursuant to Rule 7056-2(B), the facts set forth in the above statement of

facts were not properly controverted by Gouletas, and therefore should be deemed admitted.

       II.    Gouletas Failed In His Summary Judgment Burden To Prove The
              Affirmative Defense Of Lack Of Standing

       In Gouletas' Answer filed herein (Px A), Gouletas asserted that "Plaintiff lacks standing

to pursue its claim." (Px A p. 14 ¶1) Upon 800 SWC's "no evidence" summary judgment

challenge to Gouletas' standing affirmative defense (see D.N. 52-2 pp. 9-10), the burden was

upon Gouletas to come forward with competent summary judgment evidence to prove his

affirmative defense of lack of standing. See Simpson v. Safeguard Props., LLC, 2017 U.S. Dist.

LEXIS 159667 at *22 & 24-25 (N.D. Ill. Sept. 28, 2017) (upon a plaintiff's motion for summary

judgment challenging an affirmative defense, the defendant's failure to come forward with

sufficient summary judgment evidence to support the affirmative defense requires dismissal of

the affirmative defense). See, also, Myers v. Harold, 2017 U.S. Dist. LEXIS 135522 at *43 (N.D.

Ill. Aug. 24, 2017) (same); McRaith v. Burns & Wilcox, Ltd., 2010 U.S. Dist. LEXIS 23419 at

*7-10 (N.D. Ill. 2010) (same); Springfield Oil Servs. v. Mermelstein, 914 F.Supp. 258, 264 (N.D.

Ill. 1996) (same). Gouletas, however, did not proffer sufficient summary judgment evidence to

prove his affirmative defense as required by Rule 7056-2(A)(2)(b). Indeed, through his failure to

deny, Gouletas has admitted that:

       (71)   There is no evidence to support Gouletas' affirmative defense of
              Plaintiff's supposed lack of standing. In his "standing" affirmative
              defense, Gouletas argued that "[t]he duly appointed manager of
              [800 SWC] has not authorized this action." (Ans. p. 14 ¶1)
              Gouletas testified, however, that he has "no idea" whether Plaintiff
              has the authority to proceed with this suit, and has "no idea" of any
              facts to support any claim that Plaintiff did not have the authority
              to proceed with this suit. (Px J p. 68)




                                               5
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49            Desc Main
                                  Document     Page 6 of 15


(Resp. p. 28 No. 71) Accordingly, summary judgment against Gouletas on his affirmative

defense of lack of standing should granted.

       Further, pursuant to Rule 7056-2(A)(2)(b), Gouletas was required to submit "a statement,

consisting of short numbered paragraphs, of any additional facts that require the denial of

summary judgment, including references to the affidavits, parts of the record, and other

supporting materials relied upon . . .." Here, the only additional facts submitted by Gouletas were

set forth at p. 31 of his Response as additional fact "D-1", which simply refers to an attached

Exhibit D-1. That exhibit, however, is not only an incomplete document, but also a document not

authenticated by any summary judgment evidence.

       Accordingly, Debtor's Statement of Additional Fact D-1 is not supported by any

summary judgment evidence as required by Rule 7056-2(A)(2)(b). See Simpson, supra at *20-21

(the Local Rules on summary judgment practice within the Northern District of Illinois require

that the parties cite to the required statement of facts); Mervyn v. Nelson Westerberg, Inc., 76

F.Supp.3d 715, 720 (N.D. Ill. 2014) ("the value of the party's Local Rule 56.1 statements and

responses is largely lost if those materials are not cited in the briefs"). And even if Debtor's

Statement of Additional Fact D-1 were not denied by Plaintiff, Gouletas still failed to comply

with Rule 7056-2(A)(2)(b), and failed in his summary judgment burden to prove his affirmative

defense that Plaintiff supposedly lacks standing to pursue this suit.

               A.      Gouletas Has Failed To Show That DJV Lacked Legal
                       Authority To Direct Plaintiff To Bring This Action

       Gouletas argues that "Plaintiff has failed to establish the legal authority of DJV to direct

Plaintiff to bring this action." (Mem. p. 2) Not only did Gouletas fail to list any additional facts

to support his affirmative defense as required by Rule 7056-2(A)(2)(b), his argument is lacking

in legal support as well. Accordingly, Gouletas' undeveloped legal argument has been waived.


                                                 6
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49                 Desc Main
                                  Document     Page 7 of 15


See Simpson, supra, at *21-22. Moreover, "illegality" is an affirmative defense under

Fed.R.Civ.P. 9(a)(1) which Gouletas failed to plead in his Answer, and thus has waived any

"illegality" affirmative defense. See BancFlorida v. De Pasquale (In re De Pasquale), 166 B.R.

663, 670-71 (Bankr. N.D. Ill. 1994) ("Failure to plead an affirmative defense results in waiver of

that defense"). But in any event, Gouletas has failed in his burden to prove "illegality" or

"unlawfulness" as an affirmative defense.

       Without citation to any authority, and in an apparent attempt to escape in a cloud of

confusion, Gouletas argues:

               Plaintiff fails to cite to any provision of the note reflecting Debtor's
               alleged indebtedness or of the Second Mortgage that would
               support the relief Plaintiff seeks . . .. Accordingly, as a matter of
               law, Plaintiff has failed to demonstrate that anything about the
               "Second Mortgage" can serve as grounds for the summary
               judgment Plaintiff seeks . . ..

(Mem. p. 3) Gouletas has not explained, however, why 800 SWC would need to rely on any

provision of any note (let alone a "note reflecting Debtor's alleged indebtedness"), or rely upon

any provision of the Second Mortgage, "to support the relief Plaintiff seeks", or to "serve as

grounds for the summary judgment Plaintiff seeks . . .."

       And in any event, 800 SWC need not rely upon any provision of either the underlying

note signed by 800 SWC, or the Second Mortgage, to prove its claims for denial of Gouletas'

bankruptcy discharge pursuant to 11 U.S.C. §727(a)(2)(A). Indeed, Gouletas has admitted that it

is "undisputed" that "in March of 2005 the CIB loan and mortgage were acquired by [DJV] and

that by the end of 2005, the Second Mortgage was in default with an outstanding balance of

approximately $10 million." (Mem. p. 2) It was 800 SWC's undisputed default under the Second

Mortgage loan, with the undisputed unpaid indebtedness still owed by 800 SWC to DJV (S/F




                                                  7
  Case 16-00141        Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49           Desc Main
                                   Document     Page 8 of 15


No. 73; Resp. p. 29 No. 73 (not denied by Gouletas)) that gave DJV the right to take over

management and control of 800 SWC pursuant to the terms of the Pledge Agreement.

       Next, Gouletas argues that, as a "procedural prerequisite[]" for DJV "lawfully exercising

the membership and voting rights" of 800 SWC, DJV had to provide "notice" that it was

exercising those rights, which "procedural prerequisite[]" 800 SWC did not prove in its Motion

for Summary Judgment. (Mem. pp. 2-5) Once again, Gouletas did not provide any additional

facts to support this defense through the required Rule 7056-2(A)(2)(b) "statement . . . of any

additional facts . . .." And, once again, Gouletas' arguments are not supported by the facts and the

law.

       First, any claimed "lack of notice" argument cannot be asserted in good faith in

compliance with Fed.R.Civ.P. 11(b)(3). As the Court will recall, Gouletas recently requested,

and was granted, an extension of the discovery cut-off date (see D.N. 66) to submit a request for

production of documents to Plaintiff. In response to Gouletas' document request, on November 3,

2017, Plaintiff's counsel forwarded to counsel for Gouletas a copy of the Notice attached hereto

as Px 187 (see Plaintiff's Statement of Additional Facts, No. 78), which is the Notice that

Gouletas now claims doesn't exist. There is no good faith basis for Gouletas to assert a "lack of

notice" argument.

       Further, although Gouletas argues that 800 SWC did not offer any evidence that DJV

"lawfully" took over control of 800 SWC (Mem. pp. 4-5), Gouletas skirts the issue as to whether

800 SWC had the burden to prove any such "lawful" assumption of control by DJV in the first

instance. Indeed, pursuant to Fed.R.Civ.P. 9(a)(1), 800 SWC was not required to plead that it had

the "capacity to sue" or the "authority to sue".




                                                   8
    Case 16-00141       Doc 73      Filed 12/05/17 Entered 12/05/17 17:49:49                  Desc Main
                                     Document     Page 9 of 15


        Moreover, in Plaintiff's Complaint, Plaintiff specifically alleged in ¶34 that "[a]ll

conditions precedent to recovery by Plaintiff have been performed or have occurred." (D.N. 1 p.

11 ¶34) Gouletas' sole response to that allegation was "Denied" (Px A p. 12 ¶34), without listing

any claimed condition precedent (such as lack of notice) that supposedly had not been met, as

Gouletas was required to do under Fed.R.Civ.P. 9(c)2. As concluded by the Seventh Circuit, "if a

defendant does not deny specifically and with particularity, as required by Fed.R.Civ.P. 9(c), the

satisfaction of [all conditions precedent to suit], the defendant cannot later assert that a condition

precedent to the lawsuit has not been met." Liberles v. County of Cook, 709 F.2d 1122, 1125 (7th

Cir. 1983). Accordingly, Gouletas' failure to allege, with particularity, lack of notice in his

answer precludes Gouletas from arguing lack of notice in opposition to 800 SWC's motion for

summary judgment. See Keybank N.A. v. Hamrick, 576 Fed. Appx. 884, 888-89 n. 8 (11th Cir.

2014). See, also, Carroll v. Acme-Cleveland Corp., 955 F.2d 1107, 1115 (7th Cir. 1992); Newsub

Magazine Servs. LLC v. Heartland Direct, Inc., 2004 U.S. Dist. LEXIS 4121, *11-12, 2004 WL

524689 (N.D. Ill. Mar. 16, 2004).3

        In addition, not only did Gouletas waive any notice requirement under the Pledge

Agreement (see Px 32-A p. 4 §4.9), upon default of the loan obligations owed to the Lender

(now, DJV), notice to Gouletas was not required in order for the "Lender" (i.e., DJV) to
2
  "In pleading conditions precedent, it suffices to allege generally that all conditions precedent have
occurred or been performed. But when denying that a condition precedent has occurred or been
performed, a party must do so with particularity." Fed.R.Civ.P. 9(c).
3
  See, also, Jackson v. Seaboard C.L.R. Co., 678 F.2d 992, 1009 (11th Cir. 1982) ("under [Fed.R.Civ.P.
9(c)], if a party disagrees with a general averment that the conditions precedent have been met, that party
may raise the issue with a specific and particular denial. If the party does not deny the satisfaction of the
conditions precedent specifically and with particularity, however, the allegations are assumed admitted
and cannot later be attacked"); Myers v. Cent. Fla. Invs., Inc., 592 F.3d 1201, 1224-225 (11th Cir. 2010)
(upon a plaintiff's allegation in compliance with the requirements of Fed.R.Civ.P. 9(c), when a defendant
does not deny satisfaction of all conditions precedent with particularity, plaintiff's allegations are assumed
admitted and may not be attacked later); Walton v. Nalco Chem. Co., 272 F.3d 13, 21 (1st Cir. 2001) (if a
defendant does not deny satisfaction of conditions precedent with particularity, then plaintiff's allegations
are assumed admitted and defendant may not assert later that a condition precedent has not been met).

                                                      9
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49             Desc Main
                                  Document     Page 10 of 15


"exercise any . . . rights and remedies under this Agreement, or otherwise." (Id. p. 7 §7.2)

Further, upon default of the loan obligations, no notice to Gouletas was required in order for the

Lender (DJV) to become Gouletas' "true and lawful attorney-in-fact and irrevocable proxy to

vote" Gouletas' membership interests in 800 SWC "in any manner [DJV] deems advisable . . .."

(Id. p. 5 §6.1(ii)) In short, although notice was, in fact, provided to Gouletas (see S/F No. 78; Px

187), upon default on repayment of the loan obligations owed to the Lender (DJV), there was no

notice requirement before the Lender (DJV) could take control of the management and

operations of 800 SWC.

       Finally, Gouletas did not deny (and therefore admitted) the following facts:

       (18)    . . . By the end of 2005, the Second Mortgage loan was in default,
               with the amount owed by 800 SWC to DJV totaling approximately
               $10,000,000. (Ans. ¶10)

(Resp. p. 6 No. 18)

       (72)    DJV became the manager of 800 SWC on November 16, 2006
               pursuant to the terms of a Collateral Pledge and Security
               Agreement (Px 32-A) (the "Pledge Agreement") executed by (1)
               the "Borrower", 800 SWC, and (2) the "Pledgors", River City
               Investors ("RCI") and Gouletas, as the sole members of 800 SWC,
               in favor of the "Lender", CIB Bank, which was succeeded by DJV.
               (Id. p. 1) As admitted by Gouletas, "on or about November 16,
               2006, pursuant to a [Pledge Agreement] delivered to CIB Bank,
               and later assumed by DJV . . ., DJV took over control of the voting
               rights of [800 SWC], and removed Gouletas as the manager of
               [800 SWC]." (Px B p. 19 ¶3) Further, Gouletas admitted that "DJV
               took control of [800 SWC] . . . pursuant to [the Pledge
               Agreement], which allowed DJV to do so once an event of default
               occurred." (Id. p. 20 ¶11 (emphasis added))

(Resp. pp. 28-29 No. 72)

       (73)    Further, pursuant to the Pledge Agreement, RCI and Gouletas
               agreed that, upon default by 800 SWC in repayment of the full
               amount of financial obligations owed by 800 SWC, CIB (now
               DJV) could serve as the manager of 800 SWC unless and until the
               full amount of the financial obligations owed by 800 SWC to DJV


                                                10
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49               Desc Main
                                  Document     Page 11 of 15


               was paid in full. (Px 32-A ¶¶1.1, 4.1, 4.8, 4.12 & 6.1) It is
               undisputed that, to date, the full amount of the financial obligations
               owed by 800 SWC to DJV has not been paid in full. (Px L ¶73)

(Resp. p. 29 No. 73) Accordingly, Gouletas has admitted that DJV lawfully took over control of

the management and operations of 800 SWC; Gouletas has failed in his summary judgment

burden to prove otherwise.

               B.      Gouletas Has Failed To Establish That Limitations Has
                       Run On Any Management And Control Rights Of DJV
                       Under The Pledge Agreement

       Without any reference to the required "statement . . . of any additional facts that require

the denial of summary judgment" (see Rule 7056-2(A)(2)(b)), and without citation to any legal

authority, Gouletas argues that 800 SWC has failed to establish the existence of a "legally

enforceable debt" that would accord DJV the right to control the affairs of 800 SWC pursuant to

the terms of the Pledge Agreement. (Mem. p. 5) Once again, Gouletas seeks to shift the burden

to 800 SWC to prove that which was never previously challenged, and that which is undisputed

to this very day: "to date, the full amount of the financial obligations owed by 800 SWC to DJV

has not been paid in full." (Resp. p. 29 ¶73) Simply, Gouletas has failed in his summary

judgment burden to prove his affirmative defense of lack of standing. See Simpson, supra at *22

& 24-25.

       Further, Gouletas did not plead limitations as an affirmative defense, as he was required

to do by Fed.R.Civ.P. 8(c)(1). "Failure to plead an affirmative defense results in a waiver of that

defense." BancFlorida, 166 B.R. at 670-71. And even if the affirmative defense of limitations

could be asserted by Gouletas at this late stage, he failed in his burden to prove that limitations

has, in fact, run. Indeed, by Gouletas' failure to deny S/F No. 73, Gouletas has admitted that:

       (73)    Further, pursuant to the Pledge Agreement, RCI and Gouletas
               agreed that, upon default by 800 SWC in repayment of the full


                                                11
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49               Desc Main
                                  Document     Page 12 of 15


               amount of financial obligations owed by 800 SWC, CIB (now
               DJV) could serve as the manager of 800 SWC unless and until the
               full amount of the financial obligations owed by 800 SWC to DJV
               was paid in full. (Px 32-A ¶¶1.1, 4.1, 4.8, 4.12 & 6.1) It is
               undisputed that, to date, the full amount of the financial obligations
               owed by 800 SWC to DJV has not been paid in full. (Px L ¶73)

(Resp. p. 29 No. 73 (emphasis added))

       Pursuant to the Pledge Agreement, the "Collateral" -- the membership units and voting

rights of Gouletas and RCI in 800 SWC -- was "to secure the payment and the performance of

the Obligations . . .." (Px 32-A p. 2 §1.1) The "Obligations" owed to the Lender, DJV, pursuant

to the Pledge Agreement included:

       2.1.    All payment and performance duties, liabilities, and obligations of
               the Borrower [800 SWC] to the Lender [DJV] under the Loan
               Agreement, the Note, the Mortgage, the Security Agreement, and
               any other Loan Document, or any renewal, extension or
               amendment of any Loan Document.

       2.2.    All reasonable costs incurred by Lender [DJV] to obtain, preserve,
               perfect and enforce this Agreement and security interest, collect
               the Obligations and maintain, preserve, collect and enforce the
               Collateral, including but not limited to taxes, assessments,
               insurance premiums, attorney's fees and legal expenses, and
               expenses of sale.

(Px 32-A p. 2 §2) Gouletas has offered no evidence (and, in fact, no such evidence exists) that

the Obligations have been paid in full to DJV. Indeed, it is undisputed that the Obligations have

not been fully paid to DJV. (See Resp. p. 29 No. 73)

       Finally, under the Pledge Agreement, the "Lender's" (DJV's) rights of management and

control over the affairs of 800 SWC are not limited to any set period of time after default. Rather,

pursuant to §6.1 of the Pledge Agreement, those rights extend from and after "an Event of

Default and for so long as any of the Obligations remain unpaid . . .." (Px 32-A p. 5 §6.1

(emphasis added); see, also, id. p. 7. §7.2) Quite simply, Gouletas has not shown, and cannot



                                                12
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49           Desc Main
                                  Document     Page 13 of 15


show, that DJV no longer has any management and control rights over 800 SWC pursuant to the

terms of the Pledge Agreement.

       III.    The Overwhelming Summary Judgment Evidence Establishes
               That Gouletas Concealed His Property With Intent To Hinder,
               Delay Or Defraud 800 SWC, A Judgment Creditor Of Gouletas

       Without citation to any counter-statement of facts set forth in the required Rule 7056-

2(A)(2)(b) statement of additional facts, and again without citation to any legal authority,

Gouletas makes a feeble attempt to claim that he was "confused" and "lacking in understanding",

and that "his memory was not so good", when he repeatedly and consistently failed to disclose

his ownership interest in numerous valuable assets, and made misrepresentations about those

assets, and then repeatedly and consistently made false statements under oath when asked about

his assets. There are no cases, and there should not be any cases, that would allow a debtor such

as Gouletas, upon the Record before this Court, to skirt his or her obligations of an oath through

the simple expediency of a claim -- and a claim without proof -- that he or she was repeatedly,

and for such a long period of time, "confused" or "lacking in understanding". Fortunately for our

equitable system of Bankruptcy, Gouletas "cannot defeat summary judgment simply by raising a

'metaphysical doubt' about his intent." In re Kontrick, 295 F.3d 724, 737 (7th Cir. 2002)

       Moreover, what was Gouletas "confused" about when he parked over $825,000 of his

funds in two checking accounts held in the name of his close personal friend, Dorothea Touris,

and then had his friend write checks from those accounts for the payment of Gouletas' bills, all in

violation of the state court Citation? (See Resp. pp. 17-26 Nos. 52-63) The only thing Gouletas

was confused about was whether he would get caught engaging in his money laundering scheme.

       And what is Gouletas' explanation for engaging in that money laundering scheme? Can

anyone argue with a straight face that Gouletas was simply "confused" or "lacking in



                                                13
  Case 16-00141       Doc 73     Filed 12/05/17 Entered 12/05/17 17:49:49           Desc Main
                                  Document     Page 14 of 15


understanding" when he so cavalierly disregarded the obligations of his oath during his

deposition in this case? (See Resp. pp. 23-25 Nos. 58-59) Conduct (as revealed by the Summary

Judgment Record) speaks louder than words, and certainly louder than unsubstantiated words put

into a pleading after Gouletas has gotten caught. The obligations of an oath are serious, which

obligations Gouletas did not take seriously.

       The privilege of a bankruptcy discharge and the accompanying "fresh start" is supposed

to be limited to "the honest but unfortunate debtor." In re Scott, 172 F.3d 959, 966 (7th Cir.

1999) citing Grogan v. Garner, 498 U.S. 279, 286-87 (1991). See, also, Stamat v. Neary, 635

F.3d 974, 978 (7th Cir. 2011); Village of San Jose v. McWilliams, 284 F.3d 785, 790 (7th Cir.

2002). The Summary Judgment Record shows, beyond all reasonable doubt, that Gouletas is far

from the "honest but unfortunate debtor" entitled to the privilege of a bankruptcy discharge of his

debts by this Honorable Court.

                                           Conclusion

       Based on the foregoing, as well as the arguments and authorities set forth in Plaintiff's

Memorandum of Law in Support of Plaintiff's Motion for Summary Judgment (D.N. 52-2),

Plaintiff 800 South Wells Commercial LLC respectfully requests that the Court grant summary

judgment against Debtor/Defendant Nicholas S. Gouletas as to Count Three of Plaintiff's

Adversary Complaint, and thereafter enter a final judgment denying Gouletas a bankruptcy

discharge pursuant to 11 U.S.C. §727(a)(2)(A).




                                                 14
 Case 16-00141      Doc 73    Filed 12/05/17 Entered 12/05/17 17:49:49        Desc Main
                               Document     Page 15 of 15




                                                        Respectfully submitted,
                                                        ARMSTRONG LAW FIRM

       Dated: December 5, 2017.                         By     /s/F. Dean Armstrong
                                                          F. Dean Armstrong
                                                        23353 S. 88th Avenue
                                                        Frankfort, IL 60423
                                                        815/464-3243
                                                        Email: armstronglaw@sbcglobal.net

                                                        Attorneys for Plaintiff
                                                        800 South Wells Commercial LLC


                                   Certificate of Service

       The undersigned certifies that a true and correct copy of the foregoing pleading was
served upon all parties receiving CM/ECF noticing on this 5th day of December, 2017.


                                                 /s/F. Dean Armstrong
                                                 F. Dean Armstrong




                                            15
